                                                                  i             'j'A
                Case 1:18-cv-00021-JMS-WRP Document 1-7 Filed 01/12/18
                                                               Do Not Write in Page
                                                                               this Space 1 of 19                                                           PageID #: 62
      f97f^27                                STATE OF HAWAII^- DEPARTMENT OF PUBLIC SAFETY Date Received: M 1^
                                                                                                                        OFFICIAL USE ONLY

                                                    ADMINISTRATIVE REMEDY FORM ^           Date Logged
                                                                                                                                                         eXrti6ir    ^
      (This Control No. Must                                                                                           Date Retume
      Accompany AH Appeals)                                                                                            Response Due:

      NAME:                                                                             SID:
      HOUSING:           -tW               4S3 4 K                                      CONTROL NO: Step
                            kcility
                           Facilif      Module/Unit/Block/Cell                                               Step 2 gH-ln-74.
      TO:(Step) 1.                Section supervisor/Inmate Grievance Specialist
                          ^— Appeal Branch/Core Program Administrator/Inmate Grievance Specialist
                         —A— Appeal Institutions/Core Program Division Administrator/Inmate Grievance Specialist
      I attempted to solve this problem through informal discussion with:                                             nn
      Resolution could not be obtained because:                                         Ar4Sia£<L.
      Subject cannot be resolved informally because:                                                                   *
      Attachments included:(I^wcr Step 1: Sicp 2: Misconduct & tlcariiig(DOC-82IOA); Misconduct Report(DOC-8210)
      STATEMENT OF COMPLAINT/GRIEVANCE: As 1 sVW
      Po.a+5 OO                                                                                H                                cr
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        v4ATE sig^Iature
     IN?v4ATE                    ^                                                      DATE ^                        ^ S" «tW>n-^*s't5|
                                                                                                                            pl«tac re-f^VT».
     RESOLUTION: (Do Not Write In This Space. OFFICIAL USE ONLY)
             The following is in response to your step III grievance appeal. In reviewing your classification instrument: I)
             Escape History - Inmates that have been at minimum/community custody facility for 6+ months are scored with
             ■3: m your case, you were at WCF less than 6 months (5/19/17 - 7/28/17) and your score of 0 is correct. 2)
             You were given 2 poinE due to being terminated from the Farm workline after being placed in Segregation for
             th^ misconduct. 3) In reviewing your point total, yoii hav?? points with or without the 2 polnU from being
             terminated from the workline. You are Medium custody. Your grievance is denied.
             In accordance with P&P COR. 12,03.10.6, this decision is final and the ultimate recourse available within the                 • ■ V --n-'
             admmisiraiiveremedypfbcesiS:—^                   —         "                      '   -'•                              ■■    - .




     SI^NATUREOFRESPONDENT^-f^jt.l                                              / TITLE                      J')uAdMy iihli^
                                                                                                                               DATE

     Appeals must be filed within five (5) calendar days upon receipt. Signed & dated ROAS musAe                        responses are final.'

     INMATE ACKNOWLEDGED RESPONSE                                                DATE

     WHITETile         CANARY/Inmate Answer           PINK/Respondent             GOLD/Inmate Receip                PSD 8215 (rev. 10/2015)
       Case 1:18-cv-00021-JMS-WRP Document 1-7 Filed 01/12/18 Page 2 of 19                                              PageID #: 63
                                                                    £XHi6ir F--I
SECTION II: Custody Evaluation
Risk Factor                                                                                                           Points        Score

  1.    Severity Of Institutional Violence

         None                                                                                                            0
         High Category Misconduct(Within 18 months)                                                                      3
         Greatest Category Misconduct(Within 24 months)                                                                  7
         Extremely Violent Misconduct(Within 60 months)                                                                 15


  2.     Did the Institutional Violence Occur within the Last 18 months?

         No. or not Within 18 months                                                                                     0
        Yes                                                                                                              3



  3.    Severity Of Current Offense

         Low or Low Moderate                                                                                             1
         Moderate                                                                                                        2
         High                                                                                                            3
         Greastest, Life with or without Parole                                                                          4



  4.     Prior Conviction For Violent Crime(s) in the last 10 years

         None. Violation. Petty Misdemeanor, or Misdemeanor                                                              0
         Low or Low Moderate                                                                                             1
         Moderate                                                                                                        2
         High                                                                                                            3
         Greastest, Life with or without Parole                                                                          4


  5.     Time left to Serve on Minimum Sentence
         20 years or less                                                                                                0
         20.1 or More                                                                                                    15


                                                                                       Close Custody (total factors 1 through 5.)
                    If the Score Is 10-14 points, assign to Medium Custody; if the score is 15 + points, assign to Close Custody.
  6.     Escape History Most Recent Escape Date:                                 Escape From:
        6+ months in Minimum/Community Custody, no escape or attempted escape                                            -3
        No escapes or attempts, no prior incarcerations                                                                  0
         An ecsape or attempt from a minimum/community security, without violence: Over 7 years                          1
         An ecsape or attempt from a minimum/community security, without violence: Within 7 years                        4
         An escape or attempt from medium or above security or an escape from minimum or community security
         with violence: over 10 years                                                                                    5
         An escape or attempt from medium or above security or an escape from minimum or community secunty
         with violence: Within 10 years                                                                                  7



   7.    Frequency of Misconduct Reports
         None in the last 13 months of Incarceration                                                                     -3
         None in the last 6 months of Incarceration                                                                      0
         One in the last 6 months                                                                                         1
         two or more in the last 12 months                                                                               4



   8.    Severity of Institutional Misconduct

         None. Minor or Low Moderate                                                                                     0
         Moderate severity within 18 months or Drug/Alcohol between 18 and 60 months                                     3
         High Severity within 18 months or Drug/Alcohol less than 18 months                                              5
         Greatest or Extreme Severity with in 18 months                                                                  7


   9.    Current Age                          Females                           Males
                                             45.0 +                             50.0 +                                   0
                                             35.0 - 44.99                       40.0 - 49.99                              1
                                             25.0 - 34.99                       27.0 - 39.99                              2
                                              < = 24.99                         < = 26.99                                 3
     Case 1:18-cv-00021-JMS-WRP Document 1-7 Filed 01/12/18 Page 3 of 19                                                PageID #: 64
                                                                  EKrtiferr
  10.    Release Eligibility (Time to parole eligibility or max expiration date, which ever is sooner.)
         24.0 months or less                                                                                            -2
         24.01 months or greater                                                                                         0


  11.    Program/Work Participation (Last6 Months)
         Compliant/Complete with work or programs                                                                        -1
         Waiting list for Work or Program Plan                                                                           0
         Non-compliant with Work or program Plan                                                                         1
         Refused or Terminated from job or program                                                                       2



                                                           COMPREHENSIVE POINT TOTAL SCORE (Total factors 1 through 11.)



Custody Level                                         Male Custody Scale                   Female Custody Scale      Computed Custody Level
Minimum                                                      -8 to 8                               -8 to 8
Medium                                                       9 to 19                               9 to 19
Close                                                          20+                                   20+




SECTION III; Non-Discretionary Exclusions From Minimum and Community Custody

Non-Discretionary Exclusions from Minimum Custody. If any factor is "Yes" then adjusted custody level is Medium.

         1. Less than ony year from last violent episode                                                     O Yes            O No
         2. Additional pending felony charges, felony hold or detainer                                       O Yes            O No
         3. Hawaii PSD escape/attempted escape within last 7 years                                           O Yes            O No
         4. 49 months or more to release date?                                                               O Yes            O No

Eligibility For Community. If both factors are "Yes" then adjusted custody level is community.

         1. Within 24 months of parole eligibility or discharge                                              O Yes            O No
         2. Completion of program required before Community custody/placeme                                  O Yes            O No
          Case 1:18-cv-00021-JMS-WRP Document 1-7 Filed 01/12/18 Page 4 of 19                                  3'xTl
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  I have seen the response
  to my request.           Inmate Signature:                                                  i^p65;:_tl£!!2

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  I have seen tfie'response
  to my request.                        Inmate Signature:                                                Date:
       Case 1:18-cv-00021-JMS-WRP Document 1-7 Filed 01/12/18 Page 5 of 19                                                    PageID #: 66
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    /     1:18-cv-00021-JMS-WRP Document 1-7 Filed 01/12/18 Page 7 of 19                    PageID #: 68
           Name:      DAGIRBAUL. Juintin G.

           II. INITIAL TREATMENT PLAN (attach additional sheet if necessary)                    f"—'*»

                    A.   Problem:          Verification of High School Diploma

                         Goals:       a.



                                      b.



                    B.   Problem:          Lack of Social Skills

                         Goals:       a.       Cognitive Skills Classes

                                      b.       Parenting Skills Classes



                    C,   Problem:          Lack of Marketable Job Skills

                         Goals:       a.       Vocational Education

                                      b.       Available Workline



           III. Immediate Program/Intervention Priorities:

                   A.    Cognitive Skills Classes

                   B.    Parenting Skills Classes

                   C.    Vocational Education/Available Workline




           I have read my4fuUal Treatment Plan and have received a copy.


                                  INMATE


                                                                                 Q
                           CASE MANAGER                                              )ATE
Case 1:18-cv-00021-JMS-WRP Document 1-7 Filed 01/12/18 Page 8 of 19                            PageID #: 69
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                                                STATE OF HAWAII
                                   DEPARTMENT OF PTBLIC SAFETY                                        COPY
                                                                                                      \-vro
                                           Administrative ProHram Action




       To       DAGIRBAUD. Ouintin                             A0265488                     8'28/17
                      (Name)                                      (No.)                     (Date)



         Re: Results of admini.siraii\ e meeiing on:
                        9,




            □     Your Program Change Request .         ■

            ^ Your Classincatidni^rogram Rc\ ie\\*
            □     ^"our Persona! Request




                The WCF Classification Committee reviewed >our reclassillcation
                scoreshcei due to ^lui'ty cbaree 1 3.02 4 0.3 aTtOi INissCssion or
                introduction or use of any narcotic which re\ ealed your total score to be 9.
                Your custody le\ el has increased from .Minimum to Medium.

                Your next reclassification date will be Februar\ 2018.




                                                       (Chairmkn ot Committee)
                                                                                 um
                                                                                 (ID ate)




       Receipt of Results;
                                                             (Inniate            (Date)
Case 1:18-cv-00021-JMS-WRP Document 1-7 Filed 01/12/18 Page 9 of 19                                                                                PageID #: 70
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  O show details •• show summary                                                                                                                      6S
  Prison Reclassification Instrument                                                                                                                               o
                                                                                                                                                   C.cv-^
                                                                                                            Custody Status.
  Current Facility, ii.rf                          SID;                        BooKing#;:          • --
                                                                                                                                                   Kso
                                                                                                             Middle Name/lnit>al:                                 ^3^
  Last Name;:                                      First Name;.'

                                                                                                            Pnson Admission Date;
  Date of Girth                        ''          SSN              "          Gender:        ~


  Cmt Dt: .•• •• 1 .                               Mm Exp Dl'      : • — ••     MaxcxpDt : -• 1   •          PrtElgDt ■         - i:

  Reason . "'-a                     -'-v.:   ...   Cuslody Level al Assessmeni                               Language •"'L'.:;
  Final Custody Decision                                                        Next Assessment Date

   MyRcleis                                                                         SaveAs:


                                                                     Risk Factor                                                         Score


   1         Seventy 01 Institutional Violence
   2         Did the Institutional Violence Occur wilhm the Last 18 monlhs'
   3.        Seventy 01 Cufrent Offense                                                                                             -




   4         Prior Conviction For Violent Cfimetsi In last 10 years
   5         Time left to Serve on Minimum Sentence

   6         Escape History
   7         Frequency of Misconduct Reports
   S         Seventy ol Inslitutional fvtisccnducl
   S.        Cunent Age
                                                                                                                                    -■
   10               EliQibillly tTmie to parole eligibility or maximum expiration date, whichever is sooner.)
   11.       ProgramM'Ork Panicipation (Last 6 months)
   COM PREHENSIVE                   POINT TOTAL SCORE (Total factors 1 Ihiough 11 )

                                                           Computed Custody Level:

   Section III; Non-Dlscrellonary Exclusions From Minimum and Community Custody
   Non-Oiscrolionary Exclusions ffom Minimum Cuslody if any factor is 'Yes' then aojusied custody level is Medium
             1.    Less than one yoar (rom lasi wioleni episode                                                               Yes        •*   No

             2.    Aodiilonai pending teiony charges felony hold or detainer                                                  Yes        •    No

             3.    Hawaii PSD estape'aiwnpl escape wiihin last"" years                                                        Yes             No


             A     49 months or more 10 release date?                                                                         Yes             No

   Eligibility For Community If both factors arc "Yes" then ad|usl6d custody level is Community
             1     VMthin 24 months of parole eligibility or discharge                                                        Yes        ' ; No

        2. Completion of program required before Comrnuntiy cusionyipiacement                                                 Yes        ■f-- No

   Adjusted Cuslody Level. - : .
   Section IV: Special Issues
   No Special Issues

   Section V. Case Worker's Custody                         Section VI Fadiiiv Classification          Section v:i

                                                            RecExcot                                   RecExcpl;
    Excptraa;                                               Excpliea                                   Excptrea;

       So issue                                             So issue                                   ^ issue;

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Case 1:18-cv-00021-JMS-WRP Document 1-7 Filed 01/12/18 Page 10 of 19                                                                                                                      PageID #:
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      ■ showdelails •• show summary
 Prison Redassification Instrument                                                                                                                                                          \6^
                                                                                                                                           Custody Status.
 Current Facility: -f-                           SID: A. r-: -;                              3ookingff: .'L . .- t ; '
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                                                                                                                                            Middle Name/lniiial:
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                                                                                                                                            Prison Admission Date.
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                                                 Cuslody Level at Assessmerti: :                                                            iLanguage-       : .
  Reason:
                                                                                             Next Assessment Date: . >                     , • -. -
  Final Custody Decision-
                                                                                                  SaveAs r r-:-                  r i. ..
 jMy Role is-                      HU-r-H.: !-
 SECTION II: Custody Evaluation                                                                                  —
                                                                                                                                                                                  Score
                                                                         Risk Factor

  1          Severity Of Institutional Violence                                                                                                                       '




  n
             Did the Insiltutiona! Violence Occur wiUtin the Lasl 18 months?
  3          Severity Of Current Offense
  4          Prior Conviction For Violent Crime(s) in last 10 years
             Time left to Serve on Minimum Sentence                                                                                                                       ■




  Fi         Escape Hislcry
  7          FreQuency ot l^lisconduct Reports
  fi         Seventy of Institutional f«lisconduci
  9          Current Age -                                                                                                                                                -




      10     Release Eligibility t Time to parole eligibility or maximum expiration aaie, v/hichever Is sooner.)
      11     Proqram.A-'Voik Parlicipalion iLast 5 months)
      CON    PREHENSIVE POINT TOTAL SCORE (Total factors 1 Ihiough 11.)                                                                                                       '




                                                             Computed Custody Level                             . t -'
  Secllonlli: Non-uiscreuonary                                                                     —                 '   "                  . . ,     ■ „
      Non-Discretionarv Enclusions from Minimum Custody II any factor rs Yes' tnen ad|usted custody level <s Medium
                                                                                                                                                               Yea                  No
             1          Less than one year from last violent episode
                                                                                                                                                               Yes                  No
             2.         Addit'onai pending (elony charges, felony hold or deiainei
                                                                                                                                                               Yes                  hio
             3          Hawaii PSD escspii/atieir.j.t escape within lasl 7 yea's
                                                                                                                                                               Yes                  No
             4          49 months or more to release dale'
      Eiigibiiity For Community If both factors are "Yes" then adjusted custody level is COTinunity
                                                                                                                                                               Yes                  No
              1,        VMtltin 24 months of parole eligibility or discharge
                                                                                                                                                               Yes                  No
             2.         Completion of program required tiefore Commomiy custody/placement
      Adjusted Custody Level
      Section iV: Special Issues
      Conflicts; Management Probtetn Trealmeni'Prograrrt Needs
                                                                  Section VI Faciliiv Classification                                 Section VII
       Section V. Case Worker's Ciislody
                                                                  R«w.F*cr.t                                                         RecExcpl
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                                                                  Custivt                                                            Gust Ivl:
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                                                                  Tranrec.:     Tri-r:                                               Tranrec
       Tranrec:
                                                                  Tran.sln-     -       i-                                           Trans to
       Trans to:
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       rechsing:
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       Rec By:
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       Nxt Ast Ot:
          Case 1:18-cv-00021-JMS-WRP Document 1-7 Filed 01/12/18 Page 11 of 19                                                                            PageID #:
            -  ./
O show details ^ show summary
                                               72
Prjsct^ Roc'iassificatlon Instrument                                                                                                        EXlherr
SECTION I: Identification and Vital Information
                                                                                                       Custody Status:
jCurrent Facility: KCF                  SID:A02654a8                     Booking#: 201027609716
                                                                                                       PAROLE VIOLATIOrf
                                                                                                       Middle Name/initial:
iLastName: DAGIRBAUD                    FirstName: QUINTIN
                                                                                                       GEHN

                                                                                                       Prison Admission Date:
Ipate of Birth:4m|l974                                                   Gender MALE
                                                                                                       10/06/2010

jCmtOt: 12/31/2007                      MinExpDt: 10/02/2018             MaxExp Dt: 10/01/2023         PrI Elg Dt: 08/02/2018
iReason: REGULAR review         Custody Level at Assessment: medium                   Language: ENGLISH
jFinai Custody Decision; medium                            Next Assessment Date: 04/03/2017

|My Role is: morreira, keone                                                Save As: Save as Final

SECTION II: Custody Evaluation
;                                                             Risk Factor                                                           Score

1.        Seventy Of Institutional Violence                                                                                    3

2,        Did the Institutional Violence Occur within the Last 18 months?                                                      3

\z.       Severity Of Current Offense                                                                                          2


rt'       Prior Conviction For Violent Crime(s) In last 10 years                                                               0

!5.       Time left to Serve on Minimum Sentence                                                                               0

          Escape History                                                                                                       0
                                                                                                                                              9(46   |W
i7.       Frequency of Misconduct Reports                                                                                      0

;8.       Seventy of Institutional Misconduct                                                                                  5

■9.       Current Age                                                                                                          1

    10.   Release Eligibility (Time to parole eligibility or maximum expiration date, whichever is sooner.)                    -2

•11.      ProgramAA'ork Participation (Last 6 months)                                            ' '                           -1

^COMPREHENSIVE POINT TOTAL SCORE (Total factors 1 through 11.)                                                                 11


                                                Computed Custody Level: medium

Section III: Non-Discretionary Exclusions From Minimum and Community Custody
Non-DlsCTetionary Exclusions from Minimum Custody. If any factor is "Yes" then adjusted custody level is Medium.
          1.    Less than one year from last violent episode                                                             Yes       0   No

          2,    Additional pending felony charges, felony hold or detainer                                           o   Yes       ®   No

                Hawaii PSD escape/attempt escape within last 7 years
          3.                                                                                                         o   Yes           No
                                                                                                                                                            p*cfe-c-V
          4.    49 momns or rnoie.to release date?                                                                   o Yes         ®   No

Eligibility For Community. If both factors are "Yes" then adjusted custody level is Community.
      1.     Within 24 months of parole eligibility or discharge                                                     ® Yes         o   No

          2.    Completion of program required before Community custody/placement                                        Yes       0   No        *"T>ic^vc •i«v-
-Adjusted Custcdy Level' hediu'-
Section IV: Special Issues
No Special Issues

Section V: Case Worker's Custody                 Section VI: Facility Classification           Section VII: Central Classification

    RecExcpt:       No                            RecExcpt:      No                            RecExcpt:
    Excplrea:       None Selected                 Excptrea:      None Selected                 Excptrea:      None   Selected

    Sp issue:       No                            Sp issue:      No                            Sp issue:
    Cust Ivl:       MEDIUM                        Cust ivl:      MEDIUM                        Cust Ivl:      MEDIUM


    Tranrec:        None                         Tranrec:        Intra                         Tranrec:

    Trans to:                                     Trans to:      MODULE     lA                 Trans to:

    rechsing:                                     rechsing:      MODULE     lA                 rechsing:
    Rec By:         NIESEN,   PAUL A              Rec By:        MORREIRA,       KEONE         Rec By:
    Dt:             10/05/2016                    Dt:            10/05/2016                    Dt:            10/05/2016

    Nxt Ast Dt: 04/03/2017                        Nxt Ast Dt: 04/03/2017                       Nxt Ast Dt     04/03/2017
                Case 1:18-cv-00021-JMS-WRP Document 1-7 Filed 01/12/18 Page 12 of 19                                                                            PageID #:
C show details ^ show summary                        73
Prison Reclasslfication Instrument                                                                                                                       F-ll
SECTION I: Identification and Vital Information
Current Facility: hcf                         SID: A0265488                         Booking#: 201027809716                Custody Status: PAROLE viOLATioi
Last Name: DAGIrbaud                          First Name: quintin                                                         Middle Name/Initial: GEHN

Date of Birth:Jjpitffe?4                      SSN:4iimP698                          Gender MALE                           Prison Admission Date: 10/06/2010

CmtDt: 12/31/2007                             Min Exp Dt: 10/02/2018                Max Exp Dt 10/01/2023                 Pri Elg Dt 08/02/2018
Reason: amended                               Custody Level at Assessment: close                                          Language: English
Final Custody Decision: MEDIUM                                                      Next /\ssessment Date: 09/30/2016

My Role is: OWENS, MEGAN K :                                                           Save As: Save as Final



                                                                        Risk Factor                                                                            Score

1.     Severity Of Institutional Violence                                                                                                                 3

2.     Did the Institutional Violence Occur within the Last 18 months?                                                                                    3

3.     Severity Of Current Offense .                                                                                                                      2

4.     Prior Conviction For Violent Crime(s)In last 10 years                                                                                              0

5.     Time left to Serve on Minimum Sentence                                                                                                             0

6.     Escape History                                                                                                                                     0

7.     Frequency of Misconduct Reports                                                                                                                    4

6.     Severity of Institutional Misconduct                                                                                                               5

9.     Current Age                                                                                                                                        1

10.    Release Eligibility(Time to parole eligibility or maximum expiration date, whicheverJs sooner.)                                                    0

11.    ProgramA/Vbrk Participation (Last6 months)                                                                                                         -1

COMPREHENSIVE POINT TOTAL SCORE(Total factors 1 through 11.)                                                                                              17



                                                             Computed Custody Level: medium

Section III: Non-Discretionary Exclusions From Minimum and Community Custody
Non-Discretionary Exclusions from Minimum Custody. If any factor is "Yes"then adjusted custody level Is Medium.
      1.    Less than one year from last violent episode                                                     C?)   Yes         o     No

      2.    Additional pending felony charges,felony hold or detainer                                        c     Yes         (s:   No

      3.    Hawaii PSD escape/attempt escape within last 7 years                                             r     Yes         (•' No

      4.    49 months or mote to release date?                                                               r     Yes         a No

Eligibility For Community. If both factors are."Yes" then adjusted custody level is Community.
      1.    Within 24 months of parole eligibility or discharge                                                    Yes         o     No

      2.    Completion of program required before Community custody/placement                                      Yes         n     No

Adjusted Custody Level: medium
Section iV: Special Issues
No Spedal Issues

Section V: Case Worker's Custody                           Section VI: Facility Classification                     Section VII: Central Classification

RecExcpt:        No                                        RecExcpt:                                               RecExcpt
Excptrea:        None Selected                             Excptrea:        None Selected                          Excptrea:          None Selected

Sp Issue:        Yes                                       Sp Issue:                                               Sp issue:

Cust ivi:        MEDIUM                                    Cust Ivi:       MEDIUM                                  Cust Ivi:          MEDIUM

Tranrec:         None                                      Tranrec:                                                Tranrec:

Trans to:                                                  Trans to:                                               Trans to:

rechsing:        HMSF                                      rechsing:        HMSF                                   rechsing:          HMSF

Rec By:          OHENS, MEGAN K I                          Rec By:                                                 Rec By:

Dt:              03/18/2016                                Dt               03/18/2016                             Dt:                03/18/2016

 NxtAstDt:       09/30/2016                                NxtAstDt:        09/14/2016                             Nxt/\stDt          09/14/2016
               Case 1:18-cv-00021-JMS-WRP Document 1-7 Filed 01/12/18 Page 13 of 19                                                                              PageID #:
      ^show details show summary                    74
=>rison Reclassifiration Instrument
SECTION I: Identincation and Vital Information                                                                                    EXtVi6rr                 FHZ
Current F^xility: KCF                           SID: A0265488                         Booking#: 201027809716                Custody Status: parole violatioi
Last Name: dagirbaud                            First Name: quintin                                                         Middle Name/Initial: GEHN

Date of Bi'1h:^H^pi974                          SSN: fl|flM698                        Gender: male                          Prison Admission Date: 10/06/2010

Cmt Dt: 12/31/2007                              Min Exp Dt: 10/02/2018                Max ExpDt: 10/01/2023                 PrIEIg Dt: 08/02/2018
Reason : NEW INFORMATION                        Custody Level at Assessment: medium                                         Language: ENGLISH
Rnal Custody Decision: MINIMUM                                                        Next Assessment Date: 07/30/2016

My Role is: OWENS, MEGAN K I                                                             Save As: Save as Final

SECTION II: Custody Evaluation
                                                                           Risk Factor                                                                          Score

1.     Severity Of Institutional Violence                                                                                                                  0

2.     Did the Institutional Violence Occur within the Last 18 months?                                                                                     0

3.     Severity Of Current Offense                                                                                                                         2

4.     Prior Conviction For Violent Crime(s) In last 10 years                                                                                              0

5.     Time left to Serve on Minimum Sentence                                                                                                              0

S.     Escape History                                                                                                                                      0

7.         Frequency of Misconduct Reports                                                                                                                 0

B,     Severity of Institutional Misconduct                                                                                                                3

9.     Current Age                                                                                                                                         1

10.        Release Eligibility (Time to parole eligibility or maximum expiration date, whichever is sooner.)                                               0

11.        Program/Work Participation (Last 6 months)                                                                                                      -1

COMPREHENSIVE POINT TOTAL SCORE (Total fectors 1 Uirough 11.)                                                                                              5


                                                                Computed Custody Level: MINIMUM

Section III: Non-Discretionary Exclusions From Minimum and Community Custody
^Jon-Discretionary Exclusions from Minimum Custody. If any factor is "Yes" then adjusted custody level is Medium.
      1.      Less than one year from last violent episode                                                      c    Yes         (!)   No

      2,      Additional pending felony charges, felony hold or detainer                                        r Yes            (•    No

      3.      Hawaii PSD escape/attempt escape within last 7 years                                              r    Yes         (J No

      4.     49 months or more to release date?                                                                 r Yes            (• No

Eligibility For Community. If both fectors are "Yes" then adjusted custody level is Community.
      1.     \ri/ithin 24 months of parole eligibility or discharge                                             r Yes            S     No

      2.      Completion of program required before Community custody/placement                                 (S   Yes         c     No

\djusted Custody Level: minimum

Section IV: Special Issues
"reatment/Program Needs

Section V: Case Worker's Custody                             Section VI: Facility Classification                     Section VII: Central Classification
RecExcpt:          No                                         RecExcpt:                                              RecExcpt
Excptrea;          None Selected                              Excptrea:       None Selected                          Excptrea:          None Selected

Sp issue:          Yes                                        Sp issue:                                              Sp issue;
Cust Ivl:          MINIMUM                                    Cust Ivl;       MINIMUM                                Cust Ivl:          MINIMUM

Tranrec:           Inter                                      Tranrec:                                               Tranrec:
Trans to:          WCF                                        Trans to:                                              Trans to:
echsing:           WCF                                        rechsing:                                              rechsing:
Rec By:            OWENS, MEGAN K I                           Rec By:                                                Rec By:
Dt:                01/20/2016                                 Df:             01/20/2016                             Dt:                01/20/2016

*Jxl Ast Dt:       07/30/2016                                 NxtAst Dt:      07/18/2016                             Nxt'Ast Dt         07/18/2016




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                                               STATE OF HAWAH
                                     DEPARTMENT OF PUBLIC SAFETY
                                       NOTICE OF PROGRAMMING



TO      D'AGIRBAUD. Guintin                             A0265488                         05/24/17
            (NAME)                                      (SID No.)                        Date)


TRANSFER ASSESSMENT COMMITTEE HELD ON: 05/24/17

Chairperson: SW Cristy Yokoyama
Member(s):


The Committee has determined that at this time, your placement at WCF is appropriate. Your recommended
programs from your HCF RAD Unit Initial Treatment Plan are:


        A. Cognitive Skills: Lifestiles
        B. Available Workline




Certain conditions made you appropriate for Waiawa. Changes to those conditions may require an evaluation to
determine your continued appropriateness. The different sections at Waiawa share information necessary to assure
security, health and safety, and program participation. If you are unwilling or unable to participate in your
recommended programs, it could result in an increase in custody and transfer to HCF. It could also affect your parole
and/or work furlough plans.


Your custody level remains at Minimum. Your next re-classification date will be in October 2017.


c: File, Inmate, SW,Education
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                               has successfully completed 4B hours of



                                September 26 - Deceinber 2,2.016 .
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                           Studejit Lea^mng Outcom^^es
          Upon successfnl compleffbn ofthe courses, students will be able to:


 1. Identify personal characteristics     analyze how these impact decision making
    and success.

 2. Analyze factors which irnp^ct their relationships with others and articulate
    strategies and sldUs to^encQurage strong relatidhship building. ?

 3. Identify participant research potential careers to build skills and^prepare
    for employment.

 4. Practice life-long learning strategies to mcrease continuous learning and learn
    about community resources to help achieve financial independence.
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                    DEPARTMENT OF PUBLIC SAFETY
                           WAIAWA CORRECTIONAL FACILITY
                             PROGRAM HEARING RESULTS
                                        September 11, 2017



    INMATE: DAGIRBAUD,Qumtin                                    SID NO: A0265488


     The WCF Program Committee met with you at the HCF Visit Room on 08/23/2017 to
     discuss the following: programming, classification and appropriate facility placement.

     Committee member was Teresa Miike, OSSA.


    SUMMARY OF HEARING:

     You were transferred from HCF to WCF on 05/19/2017. You completed the
     Lifestiles/Cognitive Skills class on 07/28/2017. Your next parole hearing is scheduled in
     August 2018.

     On 08/23/2017 you were found guilty of Possession or introduction or use of any narcotic
     paraphernalia, drags, intoxicants, syntheric drug composition or alcoholic beverages not
     prescribed for the medical staff, which includes any form of being intoxicated. Your 30-
     day sanction expired on 08/26/2017.

    A review of your classification was completed due to the drug misconduct. Your custody
    level increased to Medium. Therefore, you are no longer appropriate for WCF and will be
     transferred to HCF.
